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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



    UNITED STATES OF AMERICA

       v.                                                         No. 1:19-CR-10080-NMG

    GREGORY COLBURN et al.,

                       Defendants


                          MOTION TO MODIFY PROTECTIVE ORDER
                        GOVERNING DOCUMENTS RECEIVED FROM USC

            Gamal Abdelaziz and Homayoun Zadeh respectfully request that the Court modify the

current protective order governing documents produced by USC to Defendants 1 to permit

Defendants to show documents to potential witnesses to the same extent they are permitted to

show documents produced by the government to potential witnesses.

            The protective order with the government, which the Court approved on May 2, 2019 at

Dkt. 377, covers the vast majority of information produced to Defendants in this case. The

government protective order permits Defendants to show documents to potential witnesses if the

following conditions are met: (1) potential witnesses are not permitted to retain physical copies

absent further order of the Court; (2) potential witnesses may receive documents by email,

provided such documents are deleted after use as directed by Defendants; (3) potential witnesses

are advised of the privacy and confidentiality of documents and their obligations not to disclose

such documents; (4) potential witnesses sign the protective order; and (5) potential witnesses not

further disclose the documents.


1
    As to Abdelaziz, see Dkt. 1081. As to Zadeh, see Dkt. 1696.
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        The protective orders with USC do not permit Defendants to show potential witnesses

documents. Instead, those protective orders state: “While the Defense Team may not provide

access to or copies of any Protected USC Material to any fact witness or any attorney for a fact

witness, the Defense Team may disclose information derived from the Protected USC Material to

a fact witness or an attorney for a fact witness in connection with the preparation and litigation of

the legal defense in this case, subject to [certain further restrictions].”

        Although Defendants previously agreed to the “no show” provision, given that trial is

approaching, the provision has turned out to be unworkable. Defendants need to show potential

witnesses the actual documents that constitute the evidence in this case. Defendants need to

understand the witnesses’ recollections of these documents and gauge their reactions to these

documents. There is no good reason that Defendants are permitted to show potential witnesses

documents they received from the government (many of which the government itself received

from USC), but are unable to show potential witnesses documents they received directly from

USC. As the Court is aware, most or all student names are redacted in the documents that USC

produced directly to the Defendants, but not in the documents the government produced to

Defendants.

        USC does not agree with the requested relief. Instead, at a meet and confer, USC

proposed that Abdelaziz identify for USC the documents he wishes to show to potential

witnesses and then perhaps an agreement could be worked out. This process is overly-

cumbersome and would require Defendants to seek USC’s permission every time they wish to

show potential witnesses documents that USC produced.

        For the foregoing reasons, Defendants respectfully request that the Court enter the

proposed order attached as Exhibit A.
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Dated: March 24, 2021                               Respectfully submitted,

                                                     GAMAL ABDELAZIZ

                                                     By his attorney,

                                                     /s/ Elliot Weinstein
                                                     Elliot Weinstein (BBO No. 520400)
                                                     83 Atlantic Avenue
                                                     Boston, MA 02110
                                                     617-367-9334

                                                     HOMAYOUN ZADEH

                                                    By his attorneys,

                                                     /s/ Tracy A. Miner
                                                     Tracy A. Miner (BBO No. 547137)
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                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing was filed electronically on March 24, 2021, and thereby
delivered by electronic means to all registered participants as identified on the Notice of Electronic
Filing.


                                                              /s/ Elliot Weinstein
                                                              Elliot Weinstein



                          LOCAL RULE 7.1(A)(2) CERTIFICATION

I hereby certify that my co-counsel conferred with counsel for USC in an attempt to resolve or
narrow the issues raised by this motion but the parties were unable to reach agreement.

                                                              /s/ Elliot Weinstein
                                                              Elliot Weinstein
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           EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                  No. 1:19-CR-10080-NMG

 GREGORY COLBURN et al.,

                   Defendants


                                    [PROPOSED] ORDER

         The USC protective orders entered by the Court at Dkts. 1081 and 1696 are hereby

modified as follows:

         Notwithstanding the terms of the Defendants’ Protective Orders with USC (Dkts. 1081

and 1696), Defendants may show Protected USC Material to potential witnesses and their

counsel to the same extent (and pursuant to the same restrictions) that they may show potential

witnesses and their counsel any document controlled by Dkt. 377, the government’s protective

order with Defendants.


DATED: _______                                       ________________________
